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                                                                                October 23, 2021

    BY ECF

    The Honorable Norman K. Moon
    United States District Court
    Western District of Virginia
    255 West Main Street
    Charlottesville, VA 22902

                           Re:     Sines et al. v. Kessler et al., No. 3:17-cv-00072 (NKM) (JCH)

    Dear Judge Moon:

            Plaintiffs file this corrected letter to cite the proper procedural authority for their request
    for a separate trial of Defendant Christopher Cantwell (Fed. R. Civ. P. 42), as well as to inform
    the Court that we will use our best efforts to deliver a copy of this letter to Mr. Cantwell, including
    by calling Mr. Cantwell in prison to read him this letter as soon as possible.

                                              *       *       *

            Plaintiffs write concerning the repeated complaints of Defendant Christopher Cantwell
    about his lack of access to documents and pleadings in this case as a result of his incarceration,
    including statements made by Mr. Cantwell yesterday at the final pretrial conference and
    continuing in a series of new submissions docketed today. See, e.g., ECF Nos. 1056, 1063, 1084,
    1098–99, 1102, 1109–10, 1122, 1159–60, 1162, 1253–57, 1261–63, 1273, 1290. This situation,
    as Your Honor has noted, is exacerbated by the fact that Mr. Cantwell is proceeding pro se. See,
    e.g., ECF No. 1273. While Plaintiffs remain adamant that any further delay would be extremely
    prejudicial given the fact that this case was filed four years ago, jury questionnaires have already
    been sent out, and many parties, counsel, and witnesses are already in or on their way to
    Charlottesville, see, e.g., ECF Nos. 1108, 1113, 1196, Plaintiffs are also aware that Mr. Cantwell
    likely will continue to assert these arguments, which could complicate the issues on appeal.

            As a result, Plaintiffs have concluded that the best way to resolve the tension between the
    need to proceed to trial and Mr. Cantwell’s due-process arguments would be for the Court to sever
    Plaintiffs’ claims against Mr. Cantwell from their claims against the other Defendants in this case
    for a separate trial pursuant to Rule 42 of the Federal Rules of Civil Procedure. See Fed R. Civ. P.
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    42(b) (“For convenience, to avoid prejudice, or to expedite and economize, the court may order a
    separate trial of one or more separate issues, claims, crossclaims, counterclaims, or third-party
    claims.”); Beasley v. Kelly, No. CIV. A. DKC 10-0049, 2010 WL 3221848, at *3 (D. Md. Aug.
    13, 2010) (“The court has broad discretion in deciding whether to bifurcate claims for trial, and
    the exercise of that discretion will be set aside only if clearly abused.”); 9A Wright & Miller, Fed.
    Prac. & Proc. § 2388 (3d ed. 2019) (“It is well-established by a wealth of case law that ultimately
    the question of whether to conduct separate trials under Rule 42(b) should be, and is, a matter left
    to the sound discretion of the trial court on the basis of the circumstances of the litigation before
    it.”). That way, Plaintiffs can proceed to trial on Monday as scheduled and Mr. Cantwell can have
    additional time to prepare. Should the Court grant Plaintiffs’ request, Plaintiffs would proceed with
    trial against Mr. Cantwell at a later date which we believe would be much shorter in length and
    could potentially take place after Mr. Cantwell is no longer incarcerated. If the Court decides to
    sever Plaintiffs’ claims against Mr. Cantwell, Plaintiffs would request that they be able to designate
    portions of Mr. Cantwell’s video deposition testimony to be played at trial against the remaining
    Defendants.

           Given the circumstances, Plaintiffs respectfully ask that the Court decide this issue before
    the beginning of jury selection on Monday, October 25, 2021.



                                                          Very truly yours,




                                                          Roberta A. Kaplan
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KAPLAN HECKER & FINK LLP                                                                            4

                                    CERTIFICATE OF SERVICE
           I hereby certify that on October 23, 2021, I served the following via electronic mail:

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KAPLAN HECKER & FINK LLP                                                                               5

            I hereby certify that on October 23, 2021, I also served the following via mail and electronic
    mail:

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                                                        _________________________
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